66 F.3d 315
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William Maurice BROOKS, Plaintiff--Appellant,v.E.H. MEEKS, Superintendent, Defendant--Appellee.
    No. 95-6745.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Aug. 24, 1995.Decided:  Sept. 15, 1995.
    
      William Maurice Brooks, Appellant Pro Se.
      Before WIDENER, HALL, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the dismissal without prejudice of his 42 U.S.C. Sec. 1983 (1988) complaint.  Appellant's complaint was dismissed for failure to comply with the district court's orders to particularize and amend his complaint to conform to the Federal Rules of Civil Procedure.  This court may exercise jurisdiction only over final orders, 28 U.S.C. Sec. 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. Sec. 1292 (1988);  Fed.R.Civ.P. 54(b).  Because Appellant may be able to save this action by amending his complaint in compliance with the district court's order, the dismissal order which Appellant seeks to appeal is not an appealable final order.  See Domino Sugar Corp. v. Sugar Workers Local Union 392, 10 F.3d 1064 (1993).
    
    
      2
      We accordingly dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    